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IN THE UNITED STATES DISTRICT COURT "':H~"*'-j ‘ g'g’j -~'-‘J-
FOR THE WESTERN DISTRICT OF TENNESSEE q m ‘ ,_
WESTERN DIVISION 95 wife 214 ?)ii `J~` 3d

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UNITED STATES OF AMERICA,

Plaintiff,
=;<
vs. No. 04~20274-Ml
.1¢
JUAN MASHUN MACKLIN,
>I<
Defendant.

ORDER GRANTING GOVERNMENT'S MOTION
TO DISMISS COUNT 2 OF INDICTMENT

lt is hereby ORDERED that the Government'S Motion To Dismiss Count 2 of the
lndictment in the above-entitled and numbered criminal case as to JUAN MASHUN MACKLIN
is hereby GRANTED_

DONE at Memphis, Tennessee, this g day of June, 2005 .

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- _ a
/ O/FED sTATES DISTRICT JUDGE

___________
Thomas A. Colthurst
Assistant U.S. Attorney

APPROVED:

     

UNITED sTATE DRISTIC COURT - W'"ERNT D'S'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:04-CR-20274 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

Randall P. Salky

LAW OFFICE OF RANDALL SALKY
266 S. Front St.

Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

